
PER CURIAM
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent submitted false and inflated billing records to his law firm. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which respondent acknowledges that his conduct constitutes a violation of Rules 8.4(a) and 8.4(c) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Sean C. Brazil, Louisiana Bar Roll number 36810, be and he hereby is disbarred, retroactive to June 15, 2018, the date of his interim suspension. His name shall be stricken from the roll of attorneys and his license to practice law in the State of Louisiana shall be revoked.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
